           Case 1:24-cv-02861-JMF Document 28 Filed 07/08/24 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
INCONTACT, INC.,                                                       :
                                                                       :
                                    Plaintiff,                         :     24-CV-2861 (JMF)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
TACTICAL DIGITAL CORPORATION,                                          :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        Counsel are reminded that, per the Court’s earlier Scheduling Order, they must submit
their proposed case management plan and joint letter by the Thursday prior to the upcoming
conference. The parties should indicate in their joint letter whether they can do without a
conference altogether. If so, the Court may enter a case management plan and scheduling order
and the parties need not appear. If not (or if the Court concludes that, the parties’ views
notwithstanding, a conference should be held), the Court will hold the initial conference by
telephone, albeit perhaps at a different time. To that end, counsel should indicate in their joint
letter dates and times during the week of the conference that they would be available for a
telephone conference. Unless and until the Court orders otherwise, however, the conference will
proceed — and will do so on the date and time previously set.

        In the event a conference is held, the parties should join it by calling the Court’s
dedicated conference line at (888) 363-4749 and using access code 542-1540, followed by the
pound (#) key. Further, counsel should review and comply with the procedures for telephone
conferences set forth in the Court’s Individual Rules and Practices for Civil Cases, available at
https://nysd.uscourts.gov/hon-jesse-m-furman, including Rule 3(B)(i), which requires the parties,
no later than 24 hours before the conference, to send a joint email to the Court with the names
and honorifics (e.g., Mr., Ms., Dr., etc.) of counsel who may speak during the teleconference and
the telephone numbers from which counsel expect to join the call.

        SO ORDERED.

Dated: July 8, 2024                                        __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
